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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 FAITH NJOKU,

              Plaintiff,
                                              CIVIL ACTION NO. 1:21-cv-01413-
 v.                                           MLB

 WELLSPRING LIVING, INC.,

              Defendant.


         DEFENDANT’S ANSWER AND AFFIRMATIVE AND
      OTHER DEFENSES TO PLAINTIFF'S STATEMENT OF CLAIM

      Defendant Wellspring Living, Inc. (“Wellspring” or “Defendant”) by and

through its undersigned counsel, hereby files its Answer and Affirmative and Other

Defenses to Plaintiff’s Statement of Claim as follows:

                                     CLAIMS

                                         1.

      In response to the first sentence that begins with “cause” in Section 2 of

Plaintiff’s Statement of Claim, Defendant denies that it: failed to pay Plaintiff

minimum wages, failed to pay Plaintiff overtime wages for work performed, and

owes or owed Plaintiff overtime wages. To the extent that additional allegations

exist in the first sentence that begins with “cause” in Section 2 of Plaintiff’s

Statement of Claim, the allegations call for a legal conclusion that does not require
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a response. To the extent additional allegations exist that require a response,

Defendant denies the remaining allegations in the first sentence that begins with

“cause” in Section 2 of Plaintiff’s Statement of Claim.

                                         2.

      In response to the second sentence that begins with “cause” in Section 2 of

Plaintiff’s Statement of Claim, Defendant denies that it subjected Plaintiff to

workplace harassment or unsafe working conditions, and denies that it failed to

respond to a harassment Statement of Claim or that it is responsible for or has

actual or constructive knowledge of purported child abuse. To the extent that

additional allegations exist in the second sentence that begins with “cause” in

Section 2 of Plaintiff’s Statement of Claim, the allegations call for a legal

conclusion that does not require a response. To the extent additional allegations

exist that require a response, Defendant denies the remaining allegations in the

second sentence that begins with “cause” in Section 2 of Plaintiff’s Statement of

Claim.

                              GENERAL DENIAL

      Any allegations contained in Plaintiff’s Statement of Claim that Defendant

did not specifically admit are expressly denied.




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                               PRAYER FOR RELIEF

      Plaintiff’s prayer for relief, purportedly located in Section 3 of Plaintiff’s

Statement of Claim, does not contain allegations to which Defendant is required to

respond. To the extent Section 3 contains allegations of fact, Defendant denies the

allegations in Section 3 of Plaintiff’s Statement of Claim. Defendant further denies

that Plaintiff is entitled to any relief whatsoever and further denies any and all

liability with respect to any of Plaintiff’s claims. Defendant expressly denies that

Plaintiff is entitled to any of the relief Plaintiff requests in Section 3 or any other

portion of Plaintiff’s Statement of Claim.

                      AFFIRMATIVE AND OTHER DEFENSES

      Defendant hereby states the following affirmative and additional defenses to

Plaintiff’s Statement of Claim as follows, but does not assume the burden of proof

of any such defenses except as required by applicable law with respect to the

particular defense asserted.

                                 FIRST DEFENSE

      The Statement of Claim should be dismissed, in whole or in part, for failure

to state a claim upon which relief may be granted.




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                               SECOND DEFENSE

      Some or all of Plaintiff’s claims may be barred by the applicable statute of

limitations or may otherwise be untimely.

                                THIRD DEFENSE

      Some or all of Plaintiff’s claims are barred by Plaintiff’s failure to exhaust

the statutory, administrative and/or jurisdictional prerequisites to the filing of the

Statement of Claim.

                               FOURTH DEFENSE

      Defendant took no adverse employment action against Plaintiff.

                                FIFTH DEFENSE

      Plaintiff’s claims are barred in whole or in part to the extent the work she

performed falls within exemptions, exclusions, or credits provided for in the Fair

Labor Standards Act and the regulations promulgated thereunder. See 29 U.S.C.

§§ 207, 213(a), 213(b).

                                SIXTH DEFENSE

      Some or all of the claims asserted by Plaintiff are barred because all acts or

omissions were in good faith conformity with and reliance on the written

administrative regulations, orders, rulings, approvals, and/or interpretations of the

Administrator of the Wage and Hour Division of the United States Department of


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Labor.

                              SEVENTH DEFENSE

       To the extent that Plaintiff makes a claim for liquidated damages, such claim

is barred because Defendant at all times acted in good faith to comply with the

FLSA, had reasonable grounds for believing it was in compliance with the law, and

lacked a willfulness or intent to violate the FLSA.

                               EIGHTH DEFENSE

       Plaintiff’s FLSA claim is barred, in whole or in part, by the provisions of

section 4 of the Portal-to-Portal Act, 29 U.S.C. § 254, as to all hours during which

she engaged in activities which were preliminary or postliminary to her principal

activities.

                                NINTH DEFENSE

       Some or all of Plaintiff’s activities do not constitute compensable work time

because they were not an integral and indispensable part of the Plaintiff’s principal

work activities, and, therefore, they were not compensable.

                                TENTH DEFENSE

       To the extent discovery reveals Plaintiff falsely reported her hours and there

is no evidence that Defendant required the false reporting of hours; no evidence

that Defendant encouraged Plaintiff to falsely report hours; and no evidence that


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Defendant knew or should have known Plaintiff was providing false information as

to hours, Defendant invokes the doctrine of estoppel to bar the claims asserted by

Plaintiff.

                              ELEVENTH DEFENSE

       Defendant is entitled to offset any liability under the FLSA by any additional

compensation and benefits over and above the monies paid to Plaintiff, including

without limitation for time not worked, time for which Plaintiff was already paid or

that otherwise constitute any form of premium or overpayment that Plaintiff was

not entitled to receive, and to the extent further investigation and discovery reveal

wrongful conduct and resulting monies owed to Defendant.

                                  TWELFTH DEFENSE

       The Statement of Claim and Plaintiff’s claims cannot be maintained against

Defendant because the alleged losses or harms sustained, if any, resulted from the

acts or omissions of Plaintiff.

                            THIRTEENTH DEFENSE

       Plaintiff was paid all wages due in accordance with the terms and conditions

of her employment with Wellspring Living, Inc., and has been fully reimbursed

through her compensation structure for all amounts to which she is legally entitled.




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                             FOURTEENTH DEFENSE

       Plaintiff’s claims are barred to the extent any bankruptcy proceedings to

which she is a party bars her claims based on estoppel, standing, or other grounds.

                              FIFTEENTH DEFENSE

       In calculating overtime liability (if any, the existence of which Defendant

denies), Defendant is entitled to exclusion of all elements of Plaintiff’s

compensation that are excludable from an employee’s regular rate for purposes of

calculating overtime, including but not limited to those elements that fall within

section 7(e) of the FLSA, 29 U.S.C. § 207(e), and for all time spent on preliminary

or postliminary activities excludable from hours worked under 29 U.S.C. § 254.

                              SIXTEENTH DEFENSE

       Plaintiff is not entitled to an award of prejudgment interest even if Plaintiff

prevails on any or all of the claims set forth in the Statement of Claim because the

damages claimed are not sufficiently certain to allow an award of prejudgment

interest.

                            SEVENTEENTH DEFENSE

       Plaintiff’s claims are barred as to all hours alleged worked of which

Defendant lacked constructive or actual knowledge.




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                            EIGHTEENTH DEFENSE

      Plaintiff’s claims are barred, in whole or in part, because any payments for

prior overtime owed (which Defendant denies) must be calculated at no more than

one-half of Plaintiff’s regular rate of pay for the workweek in which the time was

worked.

                            NINETEENTH DEFENSE

      Plaintiff’s claims are barred, in whole or in part, under the de minimis

doctrine and/or because the damages (if any) associated with such claims are too

speculative to be permitted.

                               TWENTIETH DEFENSE

      Plaintiffs’ claims are barred, in whole or in part, to the extent she failed to

exercise reasonable diligence to avoid harm and/or failed to comply with her legal

duty to mitigate her claimed damages.

                          TWENTY-FIRST DEFENSE

      Plaintiff’s claims are barred, in whole or in part, because Defendant has

committed no act or omission willfully or wantonly or with reckless indifference or

intent to cause harm, injury, or other damage to Plaintiff.




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                        TWENTY-SECOND DEFENSE

      Plaintiff’s claims are barred, in whole or in part, because Defendant is not

liable for acts, if any, by employees that were not authorized by Defendant, and

such employee, if any, had no express or implied authority to engage in acts that

were inconsistent with Defendant’s written rules.

                         TWENTY-THIRD DEFENSE

      Plaintiff’s claims may be barred, in whole or in part, by the doctrines of

estoppel, waiver, unclean hands, laches, mootness and/or accord and satisfaction.

                        TWENTY-FOURTH DEFENSE

      Defendant is entitled to a set-off against Plaintiff’s claim for damages in the

amount(s) that Plaintiff did or could have earned through reasonable efforts.

                          TWENTY-FIFTH DEFENSE

      Plaintiff’s claims are barred, in whole or in part, because Plaintiff’s own

conduct proximately caused her alleged injuries.

                          TWENTY-SIXTH DEFENSE

      Plaintiff’s claims are barred, in whole or in part, by after-acquired evidence.

                        TWENTY-SEVENTH DEFENSE

      Plaintiff’s claims are barred, in whole or in part, because Defendant

exercised reasonable care to prevent and promptly correct any unlawful treatment


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Plaintiff alleges she experienced. At all material times, Defendant had in place

policies prohibiting harassment; instructed employees to report any potential

violation of said policies; and took prompt, effective action in response to any such

complaints. Further, plaintiff unreasonably failed to take advantage of preventive

or corrective opportunities provided to her.

                         TWENTY- EIGHTH DEFENSE

      Defendant is not a state-actor, nor did it engage in conduct under the color of

state law with respect to Plaintiff’s employment.

                          TWENTY-NINTH DEFENSE

      Plaintiff is not entitled to attorneys’ fees, costs or expenses.

                             THIRTEETH DEFENSE

      There is no causal connection between any exercise of protected rights by

Plaintiff and any adverse employment action she alleges that she suffered (though

Defendant denies that it took adverse employment action against Plaintiff).

Plaintiff’s claims are barred because Plaintiff’s exercise of her rights under any law

was not the “but for” cause of her separation of employment.

                           THIRTY-FIRST DEFENSE

      Even if there were evidence of discriminatory or retaliatory motivation (and

there is not), Plaintiff would have been treated the same absent such motivation.


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                           THIRTY-SECOND DEFENSE

      At all relevant times, Defendant acted in a manner which was proper,

reasonable, lawful and in exercise of good faith.

                           RESERVATION OF RIGHTS

      Defendant reserves the right to amend its Answer to add additional defenses

or counterclaims which may become known during discovery or trial.

      WHEREFORE having fully answered the Statement of Claim, Defendant

respectfully requests that:

      (a)    Judgment be entered in its favor and all claims asserted in this action

             be dismissed with prejudice;

      (b)    Judgment be entered against Plaintiff in favor of Defendant for all

             costs and attorneys’ fees incurred by Defendant in defense of this

             action; and

      (c)    The Court grants Defendant such other relief as the Court may deem

             just and proper.


      Respectfully submitted this 16th day of April, 2021.




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                                      /s/ Dionysia Johnson-Massie
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                         CERTIFICATE OF SERVICE

      I hereby certify that on April 16th, 2021, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system.

      And I hereby do certify that I have mailed by United States Postal Service

the document to the following non CM/ECF participants:

                         Faith Njoku, pro se
                         P.O. Box 13993
                         Atlanta, GA 30324



                                      /s/ Dionysia Johnson-Massie
                                      Dionysia Johnson-Massie
                                      Georgia Bar No. 393323




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